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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
                       ___________________________________


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                        CASE NO. 1:05-CR-163

JAMOKENTAYETTE CURTIS HAMPTON,                            HON. ROBERT HOLMES BELL

      Defendant.
_____________________________________/

                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence pursuant to 18 U.S.C. § 3582(c)(2), (ECF 1030). Based on a

review of defendant’s motion, the Sentence Modification Report, submission by counsel

on behalf of the defendant, and the original criminal file, the Court has determined that

the motion should be denied. The Court finds the defendant ineligible for a reduction of

sentence due to the quantity used to drive the guideline exceeds 4,500 grams and the new

calculation does not result in a lower guideline range.

       IT IS HEREBY ORDERED that Defendant Hampton’s Motion for Reduction of

Sentence (ECF No. 1030) is DENIED.



Dated: May 20, 2016                              /s/ Robert Holmes Bell
                                                 ROBERT HOLMES BELL
                                                 UNITED STATES DISTRICT JUDGE
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